
¶ 1 Department II of the Court, composed of Chief Justice Fairhurst and Justices Madsen, Stephens, González and Yu, considered the petition for review at its November 27, 2018, Motion Calendar. The Department unanimously agreed that in light of 2018 amendments to the statutes governing legal financial obligations and this court's decision in State v. Ramirez , 191 Wn.2d 732, 426 P.3d 714 (2018), the Petitioner as an indigent offender may not be made to pay the $200 filing fee. RCW 36.18.020(2)(h). The Department therefore unanimously agreed that the petition for review should be granted as to the $200 filing fee issue. The Department also unanimously agreed that the petition for review raises no other issue that merits this court's consideration. Accordingly,
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted only on the issue of the $200 filing fee. The case is remanded to the trial court to amend *275the judgement and sentence to strike the $200 filing fee.
For the Court
/s/ Fairhurst, C.J.
CHIEF JUSTICE
